    [ORAL ARGUMENT NOT YET SCHEDULED]

                     No. 25-5184


   IN THE UNITED STATES COURT OF APPEALS
    FOR THE DISTRICT OF COLUMBIA CIRCUIT


    AMERICAN FOREIGN SERVICE ASSOCIATION,

                                Plaintiff-Appellee,

                          v.

              DONALD J. TRUMP, et al.,

                                Defendants-Appellants.


    On Appeal from the United States District Court
             for the District of Columbia


    EMERGENCY MOTION FOR AN IMMEDIATE
ADMINISTRATIVE STAY AND STAY PENDING APPEAL


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   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED
                        CASES

      Pursuant to D.C. Circuit Rule 28(a)(1), the undersigned counsel

certifies as follows:

      A.    Parties and Amici

      Defendants-appellants are Donald J. Trump; Office of Personnel

Management; U.S. Department of State; U.S. Agency for International

Development; Marco Rubio, in his official capacity as Secretary of State

and Acting Administrator, U.S. Agency for International Development;

and Charles Ezell, in his official capacity as Acting Director, Office of

Personnel Management. Plaintiff-appellee is American Foreign Service

Association. No other parties, intervenors, or amici curiae appeared

before the district court or have entered appearances in this Court.

      B.    Rulings Under Review

      Defendants seek review of the May 14, 2025, order and opinion of

the district court (Friedman, J.) granting plaintiff a preliminary

injunction. See Dkts. 36, 37. The district court’s opinion has not yet

been assigned a citation in the Federal Supplement but is available on

Westlaw at 2025 WL 1387331.
     C.    Related Cases

     This case has not previously been before the Court. National

Treasury Employees Union v. Trump, No. 25-5157 (D.C. Cir.), is a

related case in that it involves an overlapping set of defendants and

raises similar issues to this case, and plaintiff designated the case as

related in district court. That case is pending in district court as No.

1:25-cv-00935 (D.D.C.). Cases in other district courts also raise similar

issues, but defendants-appellants are not aware of any other related

cases within the meaning of D.C. Circuit Rule 28(a)(1)(C).



                                           /s/ Joshua M. Koppel
                                          Joshua M. Koppel




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          GLOSSARY

AFSA     American Foreign Service Association

Board    Foreign Service Labor Relations Board

CSRA     Civil Service Reform Act of 1978

FLRA     Federal Labor Relations Authority

FSA      Foreign Service Act of 1980

FSLMRS   Federal Service Labor-Management
           Relations Statute

NTEU     National Treasury Employees Union

OPM      Office of Personnel Management

USAID    U.S. Agency for International Development
                           INTRODUCTION

     When Congress granted members of the civil service and Foreign

Service the right to unionize and bargain collectively, it recognized that

those activities could, in certain circumstances, be inconsistent with the

needs of national security. Accordingly, Congress vested the President

with discretion to exclude agencies and agency subdivisions from labor-

relations statutes based on national-security considerations. Like

several of his predecessors, President Trump exercised that delegated

authority by issuing an executive order determining that certain

agencies and agency subdivisions should be exempted.

     That executive order has been challenged in a pair of cases

brought in District of Columbia district court. In the first, the court

granted a preliminary injunction against enforcement of the executive

order at agencies that employ members of the National Treasury

Employees Union (NTEU). In the present case, the same judge granted

analogous relief against two agencies that employ members of plaintiff

American Foreign Service Association (AFSA), i.e., the Department of

State and U.S. Agency for International Development (USAID). This

Court recently stayed the NTEU injunction pending appeal, concluding
that NTEU could not show irreparable harm and the injunction

impedes the President’s national-security prerogatives. See Order,

NTEU v. Trump, No. 25-5157 (D.C. Cir. May 16, 2025) (NTEU Stay

Order), reh’g petition filed (May 23, 2025). The same relief is warranted

here.

        While relief can be granted here on the same rationale as NTEU,

the district court also committed a series of additional errors. First, the

court erred in exercising jurisdiction over AFSA’s claims, which should

have been brought to the Foreign Service Labor Relations Board.

Second, the court erred in denying the President’s order the

presumption of regularity. And third, the court erred in finding the

order exceeded the President’s authority, particularly given the limited

scope of review under the ultra vires standard and the deference due

the President’s national-security determinations.

        In light of the district court’s usurpation of a national-security

prerogative statutorily entrusted to the President, this Court should




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stay the district court’s order pending appeal and grant an immediate

administrative stay.1

                             STATEMENT

     A.    Statutory And Regulatory Background

     1. Congress enacted the Federal Service Labor-Management

Relations Statute (FSLMRS) as part of the Civil Service Reform Act of

1978 (CSRA) to govern labor relations between the Executive Branch

and its employees. See 5 U.S.C. §§ 7101-7135. The FSLMRS grants

most federal employees—but not members of the Foreign Service, id.

§ 7103(a)(2)(B)(iv)—the right to organize and bargain collectively, and it

requires that unions and federal agencies negotiate in good faith over

conditions of employment. Id. §§ 7102(2), 7106, 7114. The statute also

establishes a dedicated mechanism for resolving labor disputes before

the Federal Labor Relations Authority (FLRA). See, e.g., id. § 7118.

Recognizing that in certain circumstances union activity may not be

consistent with the needs of national security, however, the statute

allows the President to exclude “any agency or subdivision thereof” from



     1 On May 22, defendants notified plaintiff of their intent to file

this motion and sought similar relief from the district court. Dkt. 42.
We will inform this Court when the district court rules.
                                    3
coverage under the statute if the President determines that the agency

“has as a primary function intelligence, counterintelligence,

investigative, or national security work” and that the provisions of the

FSLMRS “cannot be applied to that agency or subdivision in a manner

consistent with national security requirements and considerations.” Id.

§ 7103(b)(1).

     The Foreign Service Act of 1980 (FSA) was enacted as a

“companion measure” to the CSRA, and it provide an analogous

employment system for members of the Foreign Service. U.S. Info.

Agency v. Krc, 989 F.2d 1211, 1217 (D.C. Cir. 1993) (quotation marks

omitted). Among other things, the FSA governs labor relations between

members of the Foreign Service and their employing agencies. See 22

U.S.C. § 4101-4118. Congress established the Foreign Service Labor

Relations Board (Board) within the FLRA to conduct union elections

and resolve labor disputes involving members of the Foreign Service.

Id. §§ 4106-4107. The Board’s decisions are subject to review in this

Court. Id. § 4109(a).

     Like the FSLMRS, the FSA provides that “[t]he President may by

Executive order exclude any subdivision” of an agency employing


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members of the Foreign Service “from coverage” of the labor-relations

provisions of the statute “if the President determines that”:

     (1) the subdivision has as a primary function intelligence,
     counterintelligence, investigative, or national security work,
     and

     (2) the provisions of [the subchapter addressing labor
     relations] cannot be applied to that subdivision in a manner
     consistent with national security requirements and
     considerations.

22 U.S.C. § 4103(b).

     2. Shortly after enactment of the FSLMRS, President Carter

issued an executive order excluding more than 45 agencies or

subdivisions from coverage, precluding their employees from collective

bargaining. Exec. Order No. 12,171, 44 Fed. Reg. 66,565 (Nov. 20,

1979). Every President since, except President Biden, has issued

similar executive orders adding to that list in response to changing

circumstances and the evolving investigative and national-security

responsibilities of federal agencies. See, e.g., Exec. Order No. 13,480, 73

Fed. Reg. 73,991 (Dec. 4, 2008); Exec. Order No. 13,039, 62 Fed. Reg.

12,529 (Mar. 14, 1997); Exec. Order No. 12,666, 54 Fed. Reg. 1921 (Jan.

17, 1989).




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     B.      Factual Background

     In March 2025, President Trump issued another such executive

order, determining that certain agencies and subdivisions have “as a

primary function intelligence, counterintelligence, investigative, or

national security work” and that the labor-relations provisions of the

FSLMRS and FSA “cannot be applied to th[ose] agencies and agency

subdivisions in a manner consistent with national security

requirements and considerations.” Exec. Order No. 14,251, §§ 1-3, 90

Fed. Reg. 14,553, 14,553-14,555 (Apr. 3, 2025). As relevant here, the

executive order designates all subdivisions of the State Department and

USAID employing members of the Foreign Service. Id. § 3, 90 Fed. Reg.

at 14,555.

     The same day, the Office of Personnel Management (OPM) issued

guidance to federal agencies regarding the executive order. Ezell,

Guidance on Executive Order (Mar. 27, 2025), https://perma.cc/QH4A-

MQ9F (OPM Guidance). OPM explained that “covered agencies and

subdivisions are no longer subject to the collective-bargaining

requirements” of the FSLMRS and FSA and “are no longer required to

collectively bargain with Federal unions.” OPM Guidance 3. OPM


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advised agencies to “consult with their General Counsels as to how to

implement” the executive order. Id.

     The OPM guidance also identified several ways in which exclusion

from the labor-relations statutes could improve agency functions. OPM

explained that collective-bargaining agreements “often create

procedural impediments to separating poor performers beyond those

required by statute or regulation” and that covered agencies and

subdivisions would now have a freer hand to “separate employees for

unacceptable performance in appropriate cases.” OPM Guidance 3-4.

The guidance also emphasized that covered agencies would be able to

“eliminate waste, bloat, and insularity” by conducting reductions in

force where appropriate, ordering employees to return to in-person

work, and ensuring that agency resources are used for agency, rather

than union, business. OPM Guidance 5-6.

     Prior to the issuance of the executive order, plaintiff AFSA was

certified as the exclusive representative of all members of the Foreign

Service. Shortly after the executive order was issued, the State

Department terminated its collective-bargaining agreement with AFSA.

Several other designated agencies (with employees in the civil service)


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filed suits requesting declaratory judgments that, in light of Executive

Order 14,251, they are legally entitled to rescind such agreements. See

Complaint, U.S. Dep’t of Def. v. AFGE, No. 6:25-cv-00119 (W.D. Tex.

Mar. 27, 2025); Complaint, U.S. Dep’t of Treasury v. NTEU Chapter 73,

No. 2:25-cv-00049 (E.D. Ky. Mar. 28, 2025). On April 8, the Chief

Human Capital Officers Council, an interagency forum led by the

Director of OPM, shared with the designated agencies a Frequently

Asked Questions document concerning the implementation of Executive

Order 14,251. The document advises agencies not to “terminate any

[collective-bargaining agreements]” or file FLRA petitions to “decertify

bargaining units” “until the conclusion of litigation.” Exhibit 1-B to

Defendants’ Opposition to Plaintiff’s Motion for Preliminary Injunction,

NTEU v. Trump, No. 1:25-cv-00935 (D.D.C. Apr. 11, 2025), Dkt. 26-1.

Pursuant to that guidance, USAID has not terminated its collective-

bargaining agreement with AFSA.




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     C.    Prior Proceedings

     AFSA filed this action against the President, OPM, the State

Department, USAID, and the agencies’ heads, alleging that the

executive order conflicts with the FSA. Dkt. 1, at 13-17.2

     Plaintiff moved for a preliminary injunction, which the court

granted on May 14. Dkt. 36. The court determined that it has

jurisdiction over AFSA’s claims despite the FSA’s exclusive scheme for

administrative and judicial review. Dkt. 37, at 9-14 (Op.). The court

reasoned that the statutory review scheme is unavailable because the

State Department and USAID have been excluded from the FSA’s

coverage by the executive order. Op. 11-12.

     On the merits, the court acknowledged that the executive order is

entitled to a presumption of regularity, but it opined that AFSA had

rebutted that presumption by identifying an ostensible conflict with the

statute and indications of improper motive. Op. 16-17, 19-21. The court

determined the government had not shown that the designated agency

subdivisions perform intelligence, investigative, or national-security




     2 Plaintiff also asserted a First Amendment claim that the district

court did not reach. See Op. 29 n.8.
                                       9
work as a “primary” function, and declared that the President had

applied an overly broad interpretation of “national security” when

invoking § 4103(b). Op. 23-28.

     The court also held that AFSA faced irreparable harm from loss of

bargaining power and union dues. Op. 29-33. And it determined that

an injunction would serve the public interest by furthering the purposes

of the FSA. Op. 33-34.

     D.    NTEU v. Trump

     Shortly after the district court issued its preliminary injunction

here, this Court stayed pending appeal an analogous preliminary

injunction issued by the same district judge in parallel litigation

brought by NTEU. See NTEU Stay Order. This Court reasoned that

the government is likely to prevail in its NTEU appeal because NTEU

cannot demonstrate that it will suffer irreparable harm while the case

is pending. Id. at 1-2. The Court explained that any claims that the

union would lose bargaining power “are speculative because they would

materialize only after an agency terminates a collective-bargaining

agreement, and the Government directed agencies to refrain from

terminating collective-bargaining agreements … until after the


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litigation concludes.” Id. at 2. Furthermore, the union’s claimed

financial injury from the government terminating the withholding of

union dues from employees’ paychecks is not irreparable because the

union can collect those dues directly from its members and the FLRA

could order an agency to reimburse missing amounts if the union

ultimately prevails. Id. at 2-3. The Court further recognized that the

district court’s preliminary injunction “inflicts irreparable harm on the

President by impeding his national-security prerogatives” and

“transfer[s] … control[] from the Executive to the Judiciary.” Id. at 3-4.

                               ARGUMENT

     In considering a stay pending appeal, this Court examines

“(1) whether the stay applicant … is likely to succeed on the merits;

(2) whether the applicant will be irreparably injured absent a stay;

(3) whether issuance of the stay will substantially injure the other

parties …; and (4) where the public interest lies.” Nken v. Holder, 556

U.S. 418, 426 (2009) (quotation marks omitted). These factors

overwhelmingly favor a stay.




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I.   THE GOVERNMENT IS LIKELY TO PREVAIL ON THE MERITS

     A.       The FSA Precludes District-Court Jurisdiction
              Over Plaintiff’s Claims

     The Foreign Service-specific FSA, like the FSLMRS applicable to

the civil-service, “ ‘provides the exclusive procedures by which federal

employees and their bargaining representatives may assert federal

labor-management relations claims.’ ” AFGE v. Trump, 929 F.3d 748,

755 (D.C. Cir. 2019) (addressing the FSLMRS); AFSA v. Baker, 895

F.2d 1460, 1462 (D.C. Cir. 1990) (addressing the FSA). Plaintiff’s claim

of interference with collective-bargaining rights is precisely the type of

claim subject to that statutory review scheme. Plaintiff must therefore

bring its dispute before the Board in the form of an unfair-labor-practice

charge, or by opposing the jurisdictional dismissal of a separate case

before the Board, with the opportunity for subsequent judicial review in

this Court.

     The exclusivity of Board review is subject only to a limited

exception “when (1) a finding of preclusion might foreclose all

meaningful judicial review; (2) the claims are wholly collateral to the

statutory review provisions; and (3) the claims are beyond the expertise

of the agency.” AFGE, 929 F.3d at 755 (alterations and quotation

                                    12
marks omitted). That exception is inapplicable. A finding of preclusion

would not foreclose all meaningful judicial review because plaintiff can

argue to the Board that the defendant agencies have “refuse[d] to

consult or negotiate in good faith with [plaintiff] as required” by the

FSA or have “fail[ed] or refuse[d] otherwise to comply with any

provision” of the statute, 22 U.S.C. § 4115(a), and if unsuccessful, can

seek review in this Court, see id. § 4109(a). See also AFGE, 929 F.3d at

756. Likewise, disputes over whether the FSA has been violated are

“regularly adjudicated” through that statute’s remedial scheme. Id. at

760. And plaintiff’s claims are within the expertise of the Board

because they “require interpreting the [FSA]—the very law that the

[Board] is charged with administering and interpreting.” Id. at 760-

761; see also AFSA, 895 F.2d at 1462-1463.

     The district court concluded that it had jurisdiction because

Executive Order 14,251 exempts the agencies at issue from the labor-

relations provisions of the FSA, making Board review unavailable. Op.

11-12. But this circular logic assumes the validity of the very order that

AFSA contends is invalid (and which the district court proceeded to

enjoin). In assessing its jurisdiction, the district court should have


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assumed that plaintiff would prevail on the merits. Cf. City of

Waukesha v. EPA, 320 F.3d 228, 235 (D.C. Cir. 2003) (per curiam).

Plaintiff’s own theory dictates that the Board was the exclusive venue

for this suit.

      The district court predicted that had plaintiff sought relief from

the Board, the Board would have dismissed for lack of jurisdiction. See

Op. 12. But the district court cited no on-point Board authority.

Moreover, even if the Board concluded that it lacked jurisdiction, this

Court could review that jurisdictional ruling—effectively bringing up

the merits. See AFGE, 929 F.3d at 758-759 (“[W]e may review the

unions’ broad statutory and constitutional claims on appeal from an

FLRA proceeding even if the FLRA cannot.”).

      B.    Executive Order 14,251 Is Consistent With The
            Statute

      The government is also likely to prevail on the merits. Plaintiff

seeks non-statutory, or ultra vires, review of an order issued by the

President. Ultra vires review “is intended to be of extremely limited

scope.” North Am. Butterfly Ass’n v. Wolf, 977 F.3d 1244, 1262 (D.C.

Cir. 2020) (quotation marks omitted). To prevail, plaintiff would have

to show that Executive Order 14,251 “violated a specific prohibition in

                                    14
the statute that is clear and mandatory, was obviously beyond the

terms of the statute, or was far outside the scope of the task that

Congress gave it.” Id. at 1263 (citations and quotation marks omitted).

Plaintiff cannot possibly show that the President’s exercise of his

statutorily delegated discretion contravened any “ ‘specific and

unambiguous statutory directive.’ ” Federal Express Corp. v. U.S. Dep’t

of Commerce, 39 F.4th 756, 764 (D.C. Cir. 2022).

     1. The FSA vests in the President discretion to make exclusions

based on his national-security determinations. See 22 U.S.C. § 4103(b).

The relevant provision “fairly exudes deference” to the President “and

appears … to foreclose the application of any meaningful judicial

standard of review.” Webster v. Doe, 486 U.S. 592, 600 (1988).

     In AFGE v. Reagan, this Court examined the analogous provision

of the FSLMRS and rejected an argument that “courts are the

instrumentalities for ensuring that the [presidential exclusion]

authority is properly exercised.” 870 F.2d 723, 726 (D.C. Cir. 1989).

Rather, a bare determination by the President is sufficient to invoke

that authority, and there is no requirement that the President issue

written findings supporting his national-security determination. Id. at


                                    15
726-728. In light of the presumption of regularity, the Court refused to

entertain “an unwarranted assumption that the President was

indifferent to the purposes and requirements of the [FSLMRS], or acted

deliberately in contravention of them,” in excluding agencies from the

provisions of that statute. Id. at 728.

     This Court thus properly recognized the extent of the discretion

statutorily vested in the President and, correspondingly, the limited

role for judicial review. After all, “[s]hort of permitting cross-

examination of the [President] concerning his views of the Nation’s

security” and whether granting members of the Foreign Service in

designated agencies coverage under the provisions of the FSA is

“inimical to those interests”—a procedure that would plainly be

improper—there is “no basis on which a reviewing court could properly

assess” a President’s exclusion decision. Webster, 486 U.S. at 600. At

least in the absence of “clear evidence” rebutting the presumption of

regularity, AFGE, 870 F.2d at 727, courts must defer to the President’s

determination that the labor-relations provisions of the FSA “cannot be

applied to [an agency] subdivision in a manner consistent with national

security requirements and considerations,” 22 U.S.C. § 4103(b)(2).


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     2. If any role for judicial review remains, it must be limited to

circumstances involving a “strong showing of bad faith or improper

behavior.” Hercules, Inc. v. EPA, 598 F.2d 91, 123 (D.C. Cir. 1978). No

such showing was made here. The district court mistakenly concluded

that AFSA had overcome the presumption of regularity.

     a. The district court referenced its prior reasoning in NTEU,

where it opined that the scope of the executive order is inconsistent

with Congress’s finding that “labor organizations and collective

bargaining in the civil service are in the public interest.” NTEU v.

Trump, No. 1:25-cv-00935, 2025 WL 1218044, at *9 (D.D.C. Apr. 28,

2025) (quoting 5 U.S.C. § 7101(a)). But the FSA’s “[e]xceptions and

exemptions are no less part of Congress’s work than its rules and

standards.” BP P.L.C. v. Mayor & City Council of Balt., 593 U.S. 230,

239 (2021). By permitting the President to exclude agency subdivisions

from the FSA’s labor-relations provisions where collective bargaining is

inconsistent with “national security requirements and considerations,”

22 U.S.C. § 4103(b)(2), Congress recognized that this is an “area[]

fraught with competing social demands where … trade-offs are

required.” BP, 593 U.S. at 239. The court erred in construing the


                                   17
executive order as a violation of the statute rather than as respecting

the competing priorities that it balances.

     b. The district court also noted that it had, in NTEU, viewed

statements in a White House fact sheet as indicating that the President

had considered improper factors. Op. 19; see NTEU, 2025 WL 1218044,

at *10-11. But the fact sheet merely explains how unions’ activities

have impaired the functioning of agencies in a manner that could

undermine national security. It notes, for example, that the FSLMRS

can “enable[] hostile Federal unions to obstruct agency management” by

preventing agencies from removing employees for poor performance or

misconduct and impede agencies from taking other operational

measures including, for example, “modify[ing] cybersecurity policies.”

The White House, Fact Sheet: President Donald J. Trump Exempts

Agencies with National Security Missions from Federal Collective

Bargaining Requirements (Mar. 27, 2025), https://perma.cc/Y7HR-

4W3H (Fact Sheet). President Trump thus issued the executive order

to protect “his ability to manage agencies with vital national security

missions” and “to ensure that agencies vital to national security can




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execute their missions without delay and protect the American people.”

Id.

      The district court drew a false distinction between whether “ ‘the

provisions’ of the FSLMRS [and FSA] themselves” cannot be applied in

a manner consistent with national security and whether “the unions’

use of these provisions” would be inconsistent with national security.

NTEU, 2025 WL 1218044, at *10. Applying the provisions of the

FSLMRS and FSA to certain agencies would be inconsistent with

national-security requirements because unions can use those provisions

in a manner that “jeopardizes [the President’s] ability to manage

agencies with vital national security missions,” which necessarily

includes, inter alia, ensuring performance accountability. Fact Sheet.

For example, the fact sheet describes how a union obtained an FLRA

decision holding that U.S. Immigration and Customs Enforcement had

to bargain over whether it could address cybersecurity threats by

blocking access to web-based email services on its network. See U.S.

Dep’t of Homeland Sec., U.S. Immigration & Customs Enf’t, 67 F.L.R.A.

501 (2014). Rather than suggesting a retaliatory motive, the fact sheet




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reasonably describes how the FSLMRS and FSA have been used to

undermine national-security requirements.

     For a similar reason, the fact that the President did not exclude

U.S. Customs and Border Protection from the scope of the FSLMRS

does not demonstrate “retaliatory motive.” Op. 20; cf. Op. 21. It is

entirely reasonable for the President to conclude that unions at some

agencies have utilized their collective-bargaining powers in a manner

that hampers the effectiveness of the agency and that unions at other

agencies have not, and that the needs of national security therefore

require excluding only the former agencies from the labor-relations

statutes.

     c. The court similarly erred in declaring that the OPM guidance

demonstrates that the executive order was motivated by unrelated

policy goals. See Op. 19; NTEU, 2025 WL 1218044, at *11. The

guidance notes the policy of this Administration “to eliminate waste,

bloat, and insularity” within agencies, OPM Guidance 5, and as applied

to agency subdivisions that have as a primary function intelligence,

investigative, or national-security work, these policies are directly

relevant to the policy goals of § 4103(b)(1). Congress may have thought


                                    20
inefficiencies are tolerable in certain circumstances as the price for

allowing federal employees to organize, but Congress made clear that

labor interests cannot be allowed to undermine national security.

     The FSA does not permit courts to second-guess the President’s

decisions about how agencies must be operated so that employees can

best perform their national-security work. Rather, the statute

expressly leaves that judgment to the President. For a court to second-

guess the President’s national-security determinations would be

“inconsistent with the broad statutory text and the deference

traditionally accorded the President in this sphere.” Trump v. Hawaii,

585 U.S. 667, 686 (2018); cf. Nieves v. Bartlett, 587 U.S. 391, 398-401

(2019). Furthermore, “ ‘when it comes to collecting evidence and

drawing inferences’ on questions of national security, ‘the lack of

competence on the part of the courts is marked.’ ” Hawaii, 585 U.S. at

704. The district court erred in rejecting the presumption of regularity

based on its disagreement with a determination that Congress

appropriately left to the President.

     3. Even if the district court could properly look behind the

President’s determination, the government would still prevail because


                                       21
that determination is reasonable and not “ ‘obviously beyond the terms

of the statute,’ ” North Am. Butterfly Ass’n, 977 F.3d at 1263.

     a. The President reasonably determined that the covered

subdivisions in the State Department and USAID have intelligence,

investigative, or national-security work as “a primary function,” 22

U.S.C. § 4103(b)(1). The Department of State’s declared mission is “[t]o

protect and promote U.S. security, prosperity, and democratic values

and shape an international environment in which all Americans can

thrive.” U.S. Dep’t of State, About the U.S. Department of State,

https://perma.cc/8GPX-63RG (emphasis added). This mission statement

itself makes clear that the Department’s national-security work is a

“primary” function of the Department. Contra Op. 24.

     The subdivisions of the State Department carry out that national-

security work as one of their primary functions. Congress has assigned

to the Under Secretary for Arms Control and International Security, for

example, “matters related to international security policy, arms control,

and nonproliferation,” and permitted the Under Secretary to attend

National Security Council meetings. 22 U.S.C. § 2651a(b)(2). And the

Bureau of Diplomatic Security “lead[s] worldwide security and law


                                    22
enforcement efforts to advance U.S. foreign policy and safeguard

national security interests.” Bureau of Diplomatic Sec., U.S. Dep’t of

State, Our Mission and Vision, https://perma.cc/2PSL-Z5TQ. It is

beyond dispute that these subdivisions perform national-security work

as a primary function.

     Similarly, USAID “is the principal U.S. agency responsible for

extending development assistance to countries around the world,” and

its programs “aim to support economic growth, combat the spread of

disease, promote democratic reform, and address food insecurity.”

Office of Inspector Gen., USAID, OIG Oversight: USAID Overview,

https://perma.cc/DD9K-P9NP. USAID frequently operates in fragile

states, conflict zones, and areas where the United States has strategic

intelligence interests, including supporting counterterrorism efforts and

democratic movements. USAID subdivisions partner closely with the

Department of Defense, the State Department, and other agencies

protecting U.S. interests abroad.

     “Foreign Service personnel practice diplomacy to advance

America’s interests, solve global challenges, build alliances, counter

adversaries, promote peace, and find new opportunities for our nation.”


                                    23
U.S. Dep’t of State, Foreign Service, https://perma.cc/47QK-RHNC.

Their role, and that of their employing subdivisions, is inextricably

intertwined with a national-security function.

     The district court did not dispute that the relevant agency

subdivisions perform national-security work, but it faulted the

government for allegedly “omit[ing] the critical step of explaining why”

that work is “the ‘primary function’ ” of the subdivisions. Op. 24. This

reasoning improperly usurps the President’s discretion and turns the

relevant legal standard on its head. The notion that the government

bears the burden of explaining the designation of any agency or

subdivision is flatly inconsistent with the Court’s holding in AFGE v.

Reagan that the President need not “insert written findings into an

exempting order.” 870 F.2d at 727. If the President need not explain

his determination in the executive order itself, neither should a court

require the Department of Justice to provide such explanation in

subsequent litigation.

     b. The President also permissibly determined that the labor-

relations provisions of the FSA cannot be applied to subdivisions of the

State Department and USAID “consistent with national security


                                    24
requirements and considerations.” 22 U.S.C. § 4103(b)(2). The dictates

of national security may, at any time, require changes in working

conditions or employee status to be accomplished without hesitation,

prior notice, or an opportunity to bargain.

     The collective-bargaining agreements negotiated under the FSA,

in contrast, are by nature designed to reduce the agency’s control over

its personnel and operations. For example, the State Department and

USAID must postpone operational changes that affect working

conditions until they have offered AFSA an opportunity to bargain. See

Dkt. 10-2, Ex. 1, at 15-16; Dkt. 10-4, Ex. 1, at 14-15.

     Providing for the national security involves “complex, subtle, and

professional decisions as to the composition, training, equipping, and

control” of the workforce performing investigations, intelligence, and

national-security tasks. Gilligan v. Morgan, 413 U.S. 1, 10 (1973). The

President reasonably concluded that collective-bargaining agreements

that impede or prevent agencies from separating underperforming

employees, dictate the place or conditions of work, and impair the

Executive Branch’s ability to react to rapid developments with due

haste are inconsistent with national-security considerations.


                                     25
     c. Relying on Cole v. Young, 351 U.S. 536 (1956), the district court

opined that the term “national security” includes “only those activities

… that are directly concerned with the protection of the Nation from

internal subversion or foreign aggression.” Op. 25 (alteration in

original) (quoting Cole, 351 U.S. at 544). But there can be no

reasonable dispute that the Executive Branch’s management of

international alliances and foreign relations, including in conflict zones,

is critical to protecting the Nation from foreign aggression. Cf. Cole,

351 U.S. at 544-545 (noting that agencies “directly concerned with the

national defense” include those that “are concerned with …

international relations”).

     In any event, Cole’s holding is clearly inapplicable here. Cole held

that an employee had been improperly subjected to summary

termination procedures where the agency had applied a standard that

did not require considering “the relationship of the employee’s position

to the national security.” 351 U.S. at 553, 556. Here, however, the

President expressly determined that, with regard to each of the agency

subdivisions listed in the executive order, the provisions of the FSA

“cannot be applied … in a manner consistent with national security


                                    26
requirements and considerations.” Exec. Order No. 14,251, § 1, 90 Fed.

Reg. at 14,553. Cole provides no basis to second-guess that

determination. Furthermore, Cole relied on the textual and historical

context of an Act of 1950 and did not dictate the meaning of “national

security” in other contexts.

     C.    Plaintiff Cannot Demonstrate Irreparable Harm

     The government is also likely to prevail in this appeal because

plaintiff failed to demonstrate irreparable harm. See Winter v. NRDC,

555 U.S. 7, 20, 32 (2008). The district court reasoned that AFSA will

face “cash flow issues” if agencies stop withholding union dues from

employees’ paychecks, Op. 31 (quotation marks omitted), but this Court

subsequently rejected that reasoning in NTEU, NTEU Stay Order 2-3.

“[F]inancial injuries are rarely irreparable because they are

presumptively remediable through monetary damages,” Clevinger v.

Advocacy Holdings, Inc., 134 F.4th 1230, 1234 (D.C. Cir. 2025), and

AFSA could seek to recover missing dues in subsequent Board

proceedings if it ultimately prevails in this litigation, see NTEU Stay

Order 2-3; U.S. Dep’t of Def., Ohio Nat’l Guard, 71 F.L.R.A. 829, 830

(2020). In any event, the agencies’ termination of automatic


                                    27
withholding does not prevent the payment of dues; AFSA remains free

to collect dues directly from its members rather than through payroll

deductions. See NTEU Stay Order 3.

     AFSA also cannot establish any imminent loss of bargaining

power. Contra Op. 29-32. As this Court recently explained, such

“harms are speculative”—at least with regard to USAID—“because they

would materialize only after [USAID] terminates a collective-bargaining

agreement, and the Government directed agencies to refrain from

terminating collective-bargaining agreements or decertifying

bargaining units until after the litigation concludes.” NTEU Stay Order

2. And even with respect to the State Department—which terminated

its collective-bargaining agreement with AFSA before receiving the

OPM guidance—any loss of bargaining power is reparable because the

Board or a court could reinstate the collective-bargaining agreement

and order the Department to undo any non-negotiated changes to

working conditions if AFSA prevails in this case. In the meantime,

matters related to assignment procedures, tenure and promotion,

grievance procedures, time-in-class and time-in service rules, and

disciplinary procedures are reflected in the Foreign Affairs Manual. See


                                   28
generally U.S. Dep’t of State, Foreign Affairs Manual,

https://fam.state.gov/ (last visited May 23, 2025). Furthermore, the

executive order does not prevent AFSA from advocating for members of

the Foreign Service or from performing its function as a professional

association for current and former employees.

II.   THE EQUITABLE FACTORS FAVOR A STAY

      The preliminary injunction “inflicts irreparable harm on the

President by impeding his national-security prerogatives, which were

explicitly recognized by Congress.” NTEU Stay Order 3. The clear

congressional purpose of § 4103(b) is to allow the President to

guarantee the effective operation of the Foreign Service as relevant to

national security without the constraints of collective bargaining. “The

interest in preserving national security is ‘an urgent objective of the

highest order.’ ” Trump v. International Refugee Assistance Project, 582

U.S. 571, 581 (2017) (per curiam). To interfere with the government’s

investigation, intelligence, and national-security functions—or to

impede the government’s ability to supervise the employees engaged in

such work—“would appreciably injure [the Nation’s] interests.” Id. at

582; see also NTEU Stay Order 4 (“[P]reserving the President’s


                                    29
autonomy under a statute that expressly recognizes his national-

security expertise is within the public interest.”).

                             CONCLUSION

     The Court should stay the preliminary injunction pending appeal

and enter an immediate administrative stay pending consideration of

this motion.

                                          Respectfully submitted,

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                                             General

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May 2025




                                     30
                 CERTIFICATE OF COMPLIANCE

     Pursuant to Federal Rule of Appellate Procedure 32(g), I hereby

certify this motion complies with Federal Rule of Appellate Procedure

27(d)(1)(E) because it has been prepared in 14-point Century

Schoolbook, a proportionally spaced font, and that it complies with the

type-volume limitation of Rule 27(d)(2)(A) because it contains 5,196

words, according to Microsoft Word.



                                        /s/ Joshua M. Koppel
                                       Joshua M. Koppel
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
                                    )
AMERICAN FOREIGN SERVICE            )
ASSOCIATION,                        )
                                    )
            Plaintiff,              )
                                    )
      v.                            )                 Civil Action No. 25-1030 (PLF)
                                    )
DONALD J. TRUMP et al.,             )
                                    )
            Defendants.             )
____________________________________)


                                            OPINION

               This matter is before the Court on plaintiff American Foreign Service

Association’s (“AFSA”) Motion for a Preliminary Injunction (“Pl.’s Mot.”) [Dkt. No. 10]. On

March 27, 2025, the President issued an executive order that removed various agencies and

agency subdivisions from coverage of the Foreign Service Labor-Management Relations Statute

and Federal Service Labor-Management Relations Statute. Both statutes – which protect federal

employees’ rights to “organize, bargain collectively, and participate through labor organizations

of their own choosing,” 22 U.S.C. § 4101(1); 5 U.S.C. § 7101(a)(1) – provide nearly identically

worded provisions that permit the President to exclude components of the federal government

from coverage of the statutes. To invoke these exclusionary provisions, the President must

determine that “the subdivision has as a primary function intelligence, counterintelligence,

investigative, or national security work,” and that the statutes’ provisions “cannot be applied to

that subdivision in a manner consistent with national security requirements and considerations.”

22 U.S.C. § 4103(b); see 5 U.S.C. § 7103(b)(1) (same except refers to “any agency or




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subdivision”). The effect of the Executive Order was substantial: it removed collective

bargaining rights from approximately two-thirds of the federal workforce.

               On April 25, 2025, in a related case, the Court issued a preliminary injunction

enjoining implementation of Section 2 of the Executive Order, which excluded numerous

agencies and subdivisions from the Federal Service Labor-Management Relations Statute. See

Nat’l Treasury Emps. Union v. Trump, Civil Action No. 25-0935 (PLF), 2025 WL 1201696

(D.D.C. Apr. 25, 2025) (Order); Nat’l Treasury Emps. Union v. Trump, Civil Action

No. 25-0935 (PLF), 2025 WL 1218044 (D.D.C. Apr. 28, 2025) (Opinion).

               In the instant case, AFSA, a federal labor union, challenges Section 3 of the

Executive Order, which excludes subdivisions of the Department of State and United States

Agency for International Development from coverage of the Foreign Service Labor-Management

Relations Statute. The Court held oral argument on the motion on May 5, 2025. Upon careful

consideration of the parties’ written submissions, arguments made at the oral argument, and the

relevant authorities, the Court grants AFSA’s motion for a preliminary injunction.1




       1
               The papers reviewed by the Court in connection with this matter include:
Complaint for Declaratory and Injunctive Relief (“Compl.”) [Dkt. No. 1]; Plaintiff American
Foreign Service Association’s Motion for a Preliminary Injunction (“Pl.’s Mot.”) [Dkt. No. 10];
Memorandum of Points and Authorities Supporting Plaintiff American Foreign Service
Association’s Motion for Preliminary Injunction (“Pl.’s Mem.”) [Dkt. No. 10-1]; Defendants’
Opposition to Plaintiff’s Motion for Preliminary Injunction (“Opp.”) [Dkt. No. 23]; Reply Brief
in Support of Plaintiff American Foreign Service Association’s Motion for Preliminary
Injunction (“Pl.’s Reply”) [Dkt. No. 25]; Declaration of Thomas Yazdgerdi (“Yazdgerdi Decl.”)
[Dkt. No. 10-2]; Declaration of Tina Wong (“Wong Decl.”) [Dkt. No. 10-3]; Declaration of
Randall Chester (“Chester Decl.”) [Dkt. No. 10-4]; Declaration of Asgeir Sigfusson (“Sigfusson
Decl.”) [Dkt. No. 10-5]; Declaration of Neera Parikh (“Parikh Decl.”) [Dkt. No. 10-6];
Declaration of Sharon Papp (“Papp Decl.”) [Dkt. No. 10-7]; and Supplemental Declaration of
Thomas Yazdgerdi (“Yazdgerdi Supp. Decl.”) [Dkt. No. 31].


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                                       I. BACKGROUND

                                     A. Statutory Background

               The Foreign Service Labor-Management Relations Statute (the “Statute”), 22

U.S.C. §§ 4101-4140, set forth in Chapter 10 of Title 1 of the Foreign Service Act of 1980,

provides certain protections of the “right of workers to organize, bargain collectively, and

participate through labor organizations of their own choosing in decisions which affect

them . . . .” 22 U.S.C. § 4101(1). In passing the statute, Congress found that based on

“experience in both private and public employment,” the protections were necessary to

“safeguard[] the public interest,” “contribute[] to the effective conduct of public business,” and

“facilitate[] and encourage[] the amicable settlement of disputes between workers and their

employers involving conditions of employment.” Id. In sum, Congress found that “labor

organizations and collective bargaining in the Service are in the public interest and are consistent

with the requirement of an effective and efficient Government.” 22 U.S.C. § 4101. The

protections of the Statute apply “only with respect to the Department of State, the Broadcasting

Board of Governors, the Agency for International Development, the Department of Agriculture,

and the Department of Commerce.” 22 U.S.C. § 4103(a).

               Among other things, the Statute protects employees right “to engage in collective

bargaining with respect to conditions of employment through representatives chosen by

employees under this subchapter.” 22 U.S.C. § 4104(b)(2). The statute provides a role for

“labor organizations” in this collective bargaining process, stating:

               A labor organization which has been accorded exclusive recognition
               is the exclusive representative of, and is entitled to act for, and
               negotiate collective bargaining agreements covering, all employees
               in the unit described in section 4112 of this title. An exclusive
               representative is responsible for representing the interests of all




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               employees in that unit without discrimination and without regard to
               labor organization membership.

22 U.S.C. § 4113(a).

               Despite extending collective bargaining rights broadly to employees of the foreign

service, Congress granted the President the authority to “exclude any subdivision of the

Department from coverage” of the Statute. See 22 U.S.C. § 4103(b).2 Section 4103(b) provides:

               The President may by Executive order exclude any subdivision of
               the Department from coverage under this subchapter if the President
               determines that –

                       (1) the subdivision has as a primary function intelligence,
                       counterintelligence, investigative, or national security work,
                       and

                       (2) the provisions of this subchapter cannot be applied to that
                       subdivision in a manner consistent with national security
                       requirements and considerations.

22 U.S.C. § 4103(b). The exclusion in Section 4103(b) has never been invoked. Compl. ¶ 34.

               The exclusionary provision in Section 4103(b) is nearly identical to the

exclusionary provision contained in Federal Service Labor-Management Relations Statute

(“FSLMRS”), 5 U.S.C. §§ 7101-35, which, inter alia, protects collective bargaining rights for

federal employees outside of the foreign service. In that statute, the exclusion states:

               (1) The President may issue an order excluding any agency or
               subdivision thereof from coverage under this chapter if the President
               determines that –

                       (A) the agency or subdivision has as a primary function
                       intelligence, counterintelligence, investigative, or national
                       security work, and



       2
                The term “Department” means the “Department of State, except that with
reference to the exercise of functions under this chapter with respect to another agency
authorized by law to utilize the Foreign Service personnel system . . . .” 22 U.S.C. § 3902(4);
see Pl.’s Mem. at 23 n.19; Opp. at 5 n.1.


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                        (B) the provisions of this chapter cannot be applied to that
                        agency or subdivision in a manner consistent with national
                        security requirements and considerations.

5 U.S.C. § 7103(b)(1); see Opp. at 24 (“The type of determination to be made under section

4103(b) is similar to that in 5 U.S.C. § 7103(b)(1) . . . .”).

                Indeed, the statutory text and structure of the Statute at issue in this case and the

FSLMRS are similar in many material respects. See Am. Foreign Serv. Ass’n v. Trump, Civil

Action No. 25-0352 (CJN), 2025 WL 573762, at *8 (D.D.C. Feb. 21, 2025) (“[T]he Foreign

Service Act of 1980 (FSA) was passed as a ‘companion measure’ to the [Civil Service Reform

Act] . . . .”) (quoting U.S. Info. Agency v. Krc, 989 F.2d 1211, 1217 (D.C. Cir. 1993)). Both the

Statute and the FSLMRS protect the rights of federal employees to collectively bargain.

Compare 22 U.S.C. § 4101(1) with 5 U.S.C. § 7101(a)(1). The statutes provide the President a

provision to make exclusions to the coverage of the statutes. Compare 22 U.S.C. § 4103(b) with

5 U.S.C. § 7103(b)(1). And both statutes reflect the same Congressional intent of extending the

protections of collective bargaining broadly because “labor organizations and collective

bargaining . . . are in the public interest.” 22 U.S.C. § 4101; 5 U.S.C. § 7101(a).


                                       B. Factual Background

                                       1. The Executive Order

                On March 27, 2025, President Trump issued an executive order titled “Exclusions

from Federal Labor-Management Relations Programs.” Exec. Order No. 14251, 90 Fed.

Reg. 14553 (Mar. 27, 2025) (“Executive Order”). Section 3 of the Executive Order amends a

previous executive order – Executive Order 12171 of November 19, 1979 – which had excluded

various agencies and subdivisions from the FSLMRS pursuant to Section 7103(b). See Exec.

Order No. 12171, 44 Fed. Reg. 66565, 66565 (Nov. 19, 1979). The March 27, 2025 Executive



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Order states that “[t]he agency subdivisions set forth in section 3 of this order are hereby

determined to have as a primary function intelligence, counterintelligence, investigative, or

national security work,” and that it has been “determined that Subchapter X of Chapter 52 of

title 22, United States Code, cannot be applied to these subdivisions in a manner consistent with

national security requirements and considerations.” Executive Order § 1(b).

               As is relevant to AFSA, the Executive Order excludes from the Statute “agency

subdivisions” of the Department of State (“State Department”) and the United States Agency for

International Development (“USAID”). Executive Order §§ 1(b), 3. According to AFSA, the

Executive Order “remove[s] all State [Department] and USAID Foreign Service members from

the [Statute]’s coverage,” Pl.’s Mem. at 1-2, which constitutes ninety-seven percent “of the

Foreign Service members in the bargaining unit represented by AFSA.” Id. at 29.

               A “Fact Sheet” was issued by the White House the same day that the Executive

Order was issued. See Fact Sheet: President Donald J. Trump Exempts Agencies with National

Security Missions from Federal Collective Bargaining Requirements (Mar. 27, 2025),

https://www.whitehouse.gov/fact-sheets/2025/03/fact-sheet-president-donald-j-trump-exempts-

agencies-with-national-security-missions-from-federal-collective-bargaining-requirements/

[https://perma.cc/Y7HR-4W3H] (“Fact Sheet”). The Fact Sheet is divided into three parts. First,

it lists eight “national security missions” – “National Defense,” “Border Security,” “Foreign

Relations,” “Energy Security,” “Pandemic Preparedness, Prevention, and Response,”

“Cybersecurity,” “Economic Defense,” and “Public Safety” – and provides descriptions of each

of these missions. See Fact Sheet. Second, in a section titled “Ensuring that Agencies Operate

Effectively,” the Fact Sheet explains that the Civil Service Reform Act “enables hostile Federal

unions to obstruct agency management,” and that this “is dangerous in agencies with national




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security responsibilities.” See id. Finally, in a section titled “Safeguarding American Interests,”

the Fact Sheet explains:

               President Trump is taking action to ensure that agencies vital to
               national security can execute their missions without delay and
               protect the American people. The President needs a responsive and
               accountable civil service to protect our national security.

                       •   Certain Federal unions have declared war on President
                           Trump’s agenda.

                              o The largest Federal union describes itself as
                                “fighting back” against Trump. It is widely filing
                                grievances to block Trump policies.

                              o For example, VA’s unions have filed 70 national
                                and local grievances over President Trump’s
                                policies since the inauguration –an average of
                                over one a day.

                       •   Protecting America’s national security is a core
                           constitutional duty, and President Trump refuses to let
                           union obstruction interfere with his efforts to protect
                           Americans and our national interests.

                       •   President Trump supports constructive partnerships with
                           unions who work with him; he will not tolerate mass
                           obstruction that jeopardizes his ability to manage
                           agencies with vital national security missions.

Fact Sheet at 3.

               On the same day, the Office of Personnel Management (“OPM”) issued a

memorandum titled “Guidance on Executive Order Exclusives from Federal Labor-Management

Programs.” See Charles Ezell, Guidance on Executive Order Exclusions from Federal Labor-

Management Programs, OPM, Mar. 27, 2025, https://www.opm.gov/policy-data-oversight/latest-

memos/guidance-on-executive-order-exclusions-from-federal-labor-management-programs.pdf

[https://perma.cc/QH4A-MQ9F] (“OPM Guidance”). The OPM Guidance states that pursuant to

the Executive Order, “covered agencies and subdivisions are no longer subject to the collective-


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bargaining requirements” of the Statute and “are no longer required to collectively bargain with

federal unions.” OPM Guidance at 3. The document also states that “Federal unions” “lose their

status as the ‘exclusively recognized’ labor organizations for employees of the agencies and

agency subdivisions covered by Exclusions” in the Executive Order. Id. (alterations omitted)

(referencing 5 U.S.C. § 7111(a)); see 5 U.S.C. § 7111(a) (“An agency shall accord exclusive

recognition to a labor organization if the organization has been selected as the

representative . . . by a majority of the employees in an appropriate unit who cast valid ballots in

the election.”).


                                      2. The Instant Litigation

                   On April 7, 2025, AFSA filed this lawsuit. See Compl. AFSA brings three

counts: (1) Section 3 of the Executive Order is ultra vires because it is “tantamount to repealing

the entire statute,” thereby violating separation of powers principles; (2) Section 3 of the

Executive Order is ultra vires because it was not based on the criteria in Section 4103(b); and

(3) Section 3 of the Executive Order reflects retaliation against AFSA in violation of its First

Amendment rights. See Compl. ¶¶ 40-64.3 AFSA seeks, inter alia, an injunction enjoining all

the defendants – excluding the President – from “implementing” Section 3 of the Executive

Order and OPM Guidance related to the Executive Order.




        3
                AFSA also argues that Sections 1(b) and 6 of the Executive Order are unlawful.
See Pl.’s Mem. at 1-2; see also Executive Order § 1(b) (stating that the agency subdivisions in
Section 3 of the Executive Order satisfy the criteria in 22 U.S.C. § 4103(b)); id. § 6 (providing
guidance for the “[i]mplementation” of the Executive Order). Both sections of the Executive
Order are inextricably linked to the Court’s analysis of Section 3 of Executive Order because
they raise of the same issue of whether the President’s determinations related to the agency
subdivisions listed in Section 3 were ultra vires.


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                                        II. JURISDICTION

               The government’s first argument is that that the Court lacks jurisdiction over this

case. See Opp. at 15-21. In support, the government contends that Congress created a “special

statutory review scheme” in the Statute, and that such a scheme precludes this Court’s review

under Thunder Basin Coal Co. v. Reich, 510 U.S. 200 (1994).

               The Supreme Court has recognized that “[a] special statutory review

scheme . . . may preclude district courts from exercising jurisdiction over challenges to federal

agency action.” Axon Enter., Inc. v. FTC, 598 U.S. 175, 185 (2023) (citing Thunder Basin Coal

Co. v. Reich, 510 U.S. at 207). While Congress may create such a “statutory review scheme”

explicitly, it may also do so implicitly by “specifying a different method to resolve claims about

agency action,” such as by providing for “review in a court of appeals following the agency’s

own review process.” Id.; see Vape Cent. Grp., LLC v. U.S. Food & Drug Admin., Civil Action

No. 24-3354 (RDM), 2025 WL 637416, at *4 (D.D.C. Feb. 27, 2025). To determine whether

district court review is precluded, courts apply a two-step approach. At the first step, the court

determines whether Congress has “preclude[d] district court jurisdiction by establishing an

alternative statutory scheme for administrative and judicial review.” Am. Fed’n of Gov’t Emps.,

AFL-CIO v. Trump, 929 F.3d 748, 754 (D.C. Cir. 2019). Congress can be found to have done so

“when (i) such intent is fairly discernible in the statutory scheme, and (ii) the litigant’s claims are

of the type Congress intended to be reviewed within [the] statutory structure.” Id. (citation and

quotation marks omitted).

               At the second step, courts consider whether the plaintiff’s claim falls within this

“alternative statutory scheme for administrative and judicial review.” Am. Fed’n of Gov’t

Emps., AFL-CIO v. Trump, 929 F.3d at 754. To answer this question, courts consider three




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factors: (1) whether precluding district court jurisdiction would “foreclose all meaningful

judicial review” of the claim; (2) whether the claim is “wholly collateral to [the] statute’s review

provisions”; and (3) whether the claim is “outside the agency’s expertise.” Axon Enter., Inc. v.

Fed. Trade Comm’n, 598 U.S. at 186 (quoting Thunder Basin Coal Co. v. Reich, 510 U.S.

at 212-13); see Nat’l Ass’n for the Advancement of Colored People v. United States Postal Serv.,

496 F. Supp. 3d 1, 14 (D.D.C. 2020) (subsequent history omitted). “When the answer to all three

questions is yes, ‘[the Court] presume[s] that Congress does not intend to limit jurisdiction.’”

Axon Enter., Inc. v. Fed. Trade Comm’n, 598 U.S. at 186 (quoting Free Enter. Fund v. Pub. Co.

Acct. Oversight Bd., 561 U.S. 477, 489 (2010)). In the event the factors “point in different

directions,” “[t]he ultimate question is how best to understand what Congress has done – whether

the statutory review scheme, though exclusive where it applies, reaches the claim in question.”

Id.; see Vape Cent. Grp., LLC v. U.S. Food & Drug Admin., 2025 WL 637416, at *5 (“[I]f the

factors point in different directions . . . . courts must return to the lodestar of whether Congress

intended the type of claim at issue to be swept into the statutory enforcement scheme.”) (internal

citation and quotation marks omitted).

               In the instant case, the government argues that this Court’s jurisdiction is

precluded because the Statute provides a “special statutory review scheme.” See Opp. at 15-21.

Specifically, the government contends that the Statute requires AFSA to bring its claims to the

Federal Labor Relations Authority (“FLRA”). See Opp. at 8; 22 U.S.C. § 4116(a); see also Am.

Foreign Serv. Ass’n v. Baker, 895 F.2d 1460, 1461 (D.C. Cir. 1990) (outlining administrative

review scheme for allegedly unfair labor practices).4 The FLRA’s General Counsel will then



       4
            The FLRA also provides review of alleged violations of the Federal Service
Labor-Management Relations Statute. See 22 U.S.C. § 4102(1) (defining “Authority” in the



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investigate the claims and “may issue and cause to be served upon the Department . . . a

complaint.” 22 U.S.C. § 4116(a). The Foreign Service Labor Relations Board (“FSLRB”) will

conduct a hearing on the complaint, id. §§ 4116(b), (f), and can subsequently order any

appropriate relief. Id. § 4116(g).5 In the event AFSA does not obtain the relief it seeks, it can

appeal a final order from FSLRB to the United States Court of Appeal for the District of

Columbia Circuit. Id. § 4109(a).

               The government’s arguments related to jurisdiction fail because the “special

statutory review scheme” it contends precludes this Court’s jurisdiction is unavailable to AFSA.

As the Court recently explained in rejecting a similar jurisdictional argument made in the context

of the FSLMRS, “the administrative process of the FSLMRS cannot and does not govern here

because the Executive Order at issue removed the agencies and subdivisions in question from

coverage of the FSLMRS.” Nat’l Treasury Emps. Union v. Trump, 2025 WL 1218044, at *6.

The analysis is identical here: the Executive Order “exclude[s]” the agency subdivisions at issue

in this case “from coverage” of the Statute, and thus the Statute’s administrative review scheme

cannot be used to challenge that exclusion. The administrative review scheme established by

Congress was intended to remedy failures of the agency to “comply with provisions of the

[Statute].” See Opp. at 8; see also id. (“An employee or a union alleging that an agency has

‘refuse[d] to consult or negotiate in good faith with a labor organization, as required by [the

Statute],’ or that an agency has ‘otherwise fail[ed] or refuse[d] to comply with any provision of

[the Statute],” 22 U.S.C. § 4115(a)(5) and (a)(8), may file a charge of an unfair labor practice



Statute to mean “the Federal Labor Relations Authority, describe in” Section 7104(a) of the
Federal Service Labor-Management Relations Statute).
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              The FSLRB was created within the FLRA. See Am. Foreign Serv. Ass’n v.
Baker, 895 F.2d at 1461 (citing 22 U.S.C. § 4106).


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with the [FLRA].”) (emphasis added). But because the Executive Order excludes the agency

subdivisions from the Statute, AFSA cannot seek enforcement of the Statute’s provisions

through the administrative review scheme established by Congress. See Nat’l Treasury Emps.

Union v. Trump, 2025 WL 1218044, at *5-6.

               Furthermore, the FSLRB – which applies FLRA precedent, see 22 U.S.C.

§ 4107(b) – likely will lack jurisdiction to review AFSA’s claims as a result of the Executive

Order excluding the agency subdivisions from coverage of the Statute. See Nat’l Treasury

Emps. Union v. Trump, 2025 WL 1218044, at *5-6. FLRA precedents related to the analogous

exclusion provision in the FSLMRS strongly suggest that the FLRA lacks jurisdiction over a

case brought by AFSA challenging the President’s invocation of Section 4103(b). See United

States Att’ys Off. S. Dist. of Texas Houston, Texas (Respondent) & Am. Fed’n of Gov’t Emps.

Loc. 3966 (Charging Party), 57 F.L.R.A. 750 (Apr. 25, 2002). The government provides no

reason why the FSLRB’s analysis of its jurisdiction in the context of Section 4103(b) would

result in a different outcome. The cases the government relies on to support its contention that

the Court’s jurisdiction is precluded therefore are inapposite because those cases involved

circumstances where the aggrieved union had “several administrative options for challenging the

executive orders . . . .” See Am. Fed’n of Gov’t Emps., AFL-CIO v. Trump, 929 F.3d at 757

(internal quotation marks omitted); see also Am. Foreign Serv. Ass’n v. Baker, 895 F.2d at 1462

(“Were we to accept AFSA’s plea for immediate access to a court of first instance, we would be

establishing that court as a parallel enforcement mechanism to the [FSLRB], a result Congress

did not intend.”); Am. Fed’n of Gov’t Emps. v. Sec’y of Air Force, 716 F.3d 633, 637 (D.C.

Cir. 2013) (“Because the FSLMRS’s remedial regime is exclusive, providing [plaintiff] with

multiple options to challenge the [policy], [plaintiff] cannot circumvent this regime by instead




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bringing a suit in district court.”); Widakuswara v. Lake, No. 25-5144, 2025 WL 1288817, at *3

(D.C. Cir. May 3, 2025) (concluding district court likely lacked jurisdiction over plaintiffs’ APA

claims because “Congress has [ ] established comprehensive statutory schemes for adjudicating

employment disputes with the federal government”); cf. Am. Foreign Serv. Ass’n v. Trump,

Civil Action No. 25-0352 (CJN), 2025 WL 573762, at *10 (D.D.C. Feb. 21, 2025) (“Where

plaintiffs are entitled to review before the MSPB, FLRA, FSGB, or FSLRB and subsequent

judicial review, there is no reason to fear that plaintiffs’ constitutional claims could wholly evade

consideration.”) (emphasis in original).

               At oral argument, the government referenced the D.C. Circuit’s decision in

Sandpiper Residents Ass’n v. United States Dep’t of Hous. & Urb. Dev., for the proposition that

the Court must “assume that [AFSA] will prevail on the merits of [its] claim” when addressing

whether the Court’s jurisdiction is precluded. See Sandpiper Residents Ass’n v. United States

Dep’t of Hous. & Urb. Dev., 106 F.4th 1134, 1141 (D.C. Cir. 2024); see also Transcript (“Tr.”)

[Dkt. No. 34] at 30:02-16. Put differently, the government argues that the Court’s jurisdiction is

precluded because under AFSA’s theory, the Executive Order is invalid and thus the provisions

of the Statute – including the requirement that AFSA seek redress from the FSLRB – apply to

AFSA. This argument is unavailing for at least two reasons. First, the D.C. Circuit in Sandpiper

held that a court must “assume that Plaintiffs will prevail on the merits of their claims” “in

evaluating mootness.” Sandpiper Residents Ass’n v. United States Dep’t of Hous. & Urb. Dev.,

106 F.4th at 1141. The government provides no reason why Sandpiper’s holding should be

applied to the issue presented in this case related to whether an administrative review scheme

precludes judicial review. Second, and more importantly, “assum[ing] that [AFSA] will prevail

on the merits of [its] claim” does not change the fact that there is no dispute between the parties




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that the agency subdivisions at issue in this case currently are excluded from the Statute as a

result of the Executive Order. While the government contends that the Court’s jurisdiction is

still precluded notwithstanding the exclusion from the Statute, this contention is an issue the

Court must decide irrespective of the parties’ positions on the issue.

               The administrative process of the Statute cannot and does not govern here because

the Executive Order at issue removed the agencies and subdivisions in question from coverage of

the Statute. Because there is no “special statutory review scheme” that is actually available to

AFSA for reviewing its claim, this Court is not deprived of jurisdiction. Nat’l Treasury Emps.

Union v. Trump, 2025 WL 1218044, at *6; see Am. Fed’n of Gov’t Emps., AFL-CIO, Loc. 446

v. Nicholson, 475 F.3d 341, 348 (D.C. Cir. 2007) (holding that the district court had jurisdiction

because the claims brought by the plaintiff were “expressly outside of the FLRA’s purview”);

see also Lamb v. Holder, 82 F. Supp. 3d 416, 422-23 (D.D.C. 2015) (exercising subject matter

jurisdiction over plaintiff’s constitutional claims regarding termination where plaintiff was not

entitled to review under the Civil Service Reform Act).


                               III. PRELIMINARY INJUNCTION

                                        A. Legal Standard

               A movant seeking preliminary injunctive relief must make a “clear showing that

four factors, taken together, warrant relief: likely success on the merits, likely irreparable harm

in the absence of preliminary relief, a balance of the equities in its favor, and accord with the

public interest.” Archdiocese of Washington v. Wash. Metro. Area Transit Auth., 897 F.3d 314,

321 (D.C. Cir. 2018) (quoting League of Women Voters v. Newby, 838 F.3d 1, 6 (D.C.

Cir. 2016)); see also Sherley v. Sebelius, 644 F.3d 388, 392 (D.C. Cir. 2011) (noting that a

preliminary injunction “may only be awarded upon a clear showing that the plaintiff is entitled to



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such relief” (quoting Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008))). Of these,

the most important factor is whether a movant has established a likelihood of success on the

merits. See Aamer v. Obama, 742 F.3d 1023, 1038 (D.C. Cir. 2014); Bailey v. Fed. Bureau of

Prisons, Civil Action No. 24-1219 (PLF), 2024 WL 3219207, at *3 (D.D.C. June 28, 2024)

               Before the Supreme Court’s decision in Winter, courts in this Circuit weighed

these four factors on a “sliding scale,” under which the movant need not “make as strong a

showing” on one factor if they “make[ ] an unusually strong showing” on another. Davis v.

Pension Benefit Guar. Corp., 571 F.3d 1288, 1291-92 (D.C. Cir. 2009) (quoting Davenport v.

Int’l Bhd. of Teamsters, 166 F.3d 356, 361 (D.C. Cir. 1999)); accord Damus v. Nielsen, 313 F.

Supp. 3d 317, 326 (D.D.C. 2018). This Circuit has suggested, however, that “a likelihood of

success” and “a likelihood of irreparable harm” are “independent, free-standing requirement[s]

for a preliminary injunction.” Sherley v. Sebelius, 644 F.3d at 392-93 (quoting Davis v. Pension

Benefit Guar. Corp., 571 F.3d at 1296 (Kavanaugh, J., concurring)); see Archdiocese of

Washington v. Wash. Metro. Area Transit Auth., 897 F.3d at 334 (declining to resolve whether

the “sliding scale” approach is still valid after Winter); Nat’l Treasury Emps. Union v. Vought,

Civil Action No. 25-0381 (ABJ), 2025 WL 942772, at *19 (D.D.C. Mar. 28, 2025). Regardless,

“a failure to show a likelihood of success on the merits alone is sufficient to defeat a

preliminary-injunction motion.” Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 205

F. Supp. 3d 4, 26 (D.D.C. 2016) (citing Ark. Dairy Coop. Ass’n v. U.S. Dep’t of Agric., 573

F.3d 815, 832 (D.C. Cir. 2009)); see also M.G.U. v. Nielsen, 325 F. Supp. 3d 111, 117-18

(D.D.C. 2018).

               For each of its claims, AFSA bears the burden of persuasion. Chaplaincy of Full

Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006). AFSA also “bears the burden




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of producing credible evidence sufficient to demonstrate [its] entitlement to injunctive relief.”

Workman v. Bissessar, 275 F. Supp. 3d 263, 267 (D.D.C. 2017).


                              B. Likelihood of Success on the Merits

               The core of the parties’ dispute centers on whether the President exceeded the

authority afforded to him in the Statute when he excluded the agency subdivisions of the State

Department and USAID under Section 4103(b). AFSA contends that the President’s Executive

Order was ultra vires, arguing that the agency subdivisions listed in Section 3 of Executive Order

do not meet the criteria listed in Section 4103(b). See Pl.’s Mem. at 23-30. AFSA argues in part

that the sheer scope of the Executive Order alone – which as a whole removes collective

bargaining rights from approximately two-thirds of the federal workforce – negates any

possibility that the President validly invoked the narrow exception in Section 4103(b). See Pl.’s

Reply at 10-11. The government makes two general arguments in response. First, the

government maintains that the Court lacks the authority to review the President’s “national

security-related determinations under” Section 4103(b) or, at a minimum, that it owes significant

deference to the President’s conclusion that the particular agencies and subdivisions subject to

the Executive Order are excludable from the Statute. See Opp. at 15-25. Second, in the event

the Court does review the President’s determination, the government contends that the identified

agencies and subdivisions meet the criteria listed in Section 4103(b). See id. at 26-36.

               The Court recently analyzed the President’s invocation of Section 7103(b) of

FSLMRS in the same Executive Order at issue here. See Nat’l Treasury Emps. Union v. Trump,

2025 WL 1218044. In that case, the Court reasoned that D.C. Circuit precedent made clear that

the validity of the President’s invocation of Section 7103(b) centered around two issues:

“(1) whether the ‘presumption of regularity’ applies to the President’s exercise of authority; and



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(2) whether the President's exercise of authority was ultra vires.” Id. at *8; see Am. Fed’n of

Gov’t Emps., AFL-CIO v. Reagan, 870 F.2d 723 (D.C. Cir. 1989) (holding that “the presumption

of regularity [was] pivotal” to the issue of whether the President validly invoked

Section 7103(b)). As to the first issue, the Court concluded that the plaintiff union had “rebutted

the presumption of regularity by presenting clear evidence that ‘the President was indifferent to

the purposes and requirements of the [FSLMRS], or acted deliberately in contravention of

them.’” Nat’l Treasury Emps. Union v. Trump, 2025 WL 1218044, at *9 (quoting Am. Fed’n of

Gov’t Emps., AFL-CIO v. Reagan, 870 F.2d at 728). Specifically, the Court reached this

conclusion for three reasons:

               (1) the Executive Order and the Administration’s surrounding
               statements are at odds with Congress’s findings in the FSLMRS;
               (2) the White House Fact Sheet reflects retaliatory motive; and
               (3) the Administration’s guidance related to the Executive
               Order – specifically, the OPM Guidance – suggests that the
               invocation of Section 7103(b)(1) was in furtherance of unrelated
               policy goals rather than based on the statutory criteria.

Id. The Court therefore determined that it was not required to “presume that the President has

‘properly discharged [his] official duties’ in the absence of justification for the Executive Order”

because presumption of regularity had been rebutted. Id. at *12 (quoting United States v.

Chemical Foundation, 272 U.S. 1, 14-15).

               The Court next addressed the issue of whether the President exceeded his power

to exclude agencies and subdivisions from the FSLMRS pursuant to Section 7103(b)(1). See

Nat’l Treasury Emps. Union v. Trump, 2025 WL 1218044, at *12-16. The Court concluded that

the President’s Executive Order likely was ultra vires because he appeared to either disregard or

apply an overly broad interpretation of two terms within the statutory text of Section 7103(b)(1):




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(1) “primary function” and (2) “national security.” See id. As to “primary function,” the Court

reasoned that the President disregarded the statutory term, reasoning:

               While the government never explicitly states how it interprets
               “primary function,” its arguments related to each of the agencies and
               subdivisions reflect either an overly broad interpretation of the term
               or a disregard of the term entirely. The government's arguments
               related to each of the agencies and subdivisions illustrate this point
               by either pointing to generalized mission statements of the agencies
               referencing national security, or by pointing to individual functions
               that segments of the agencies or subdivisions perform that have a
               national security valence, and then concluding that the entire
               agencies’ or subdivisions’ “primary function” is national security.

Id. at *14. As to the term “national security,” the Court concluded that the President applied an

overly broad interpretation of the term “national security,” both contrary to the Congressional

intent in passing the FSLMRS and Supreme Court precedent. In relevant part, the Court

reasoned:

               In passing the FSLMRS, Congress clearly expressed a desire to
               extend collective bargaining rights broadly because it determined
               that those rights were “in the public interest.” 5 U.S.C. § 7101(a)
               (“[L]abor organizations and collective bargaining in the civil service
               are in the public interest”). Congress provided a narrow exception
               that allowed the President to exclude agencies and subdivisions
               from these protections if the provisions of the law “cannot be
               applied . . . in a manner consistent with national security
               requirements and considerations.” 5 U.S.C. § 7101(b)(1)(B). And
               as in Cole v. Young, it is “clear from the statute” that the term
               “national security” “comprehend[s] only those activities . . . that are
               directly concerned with the protection of the Nation from internal
               subversion or foreign aggression . . . .” Cole v. Young, 351 U.S.
               [536, 544 (1956)]. But President Trump instead has applied a
               startlingly broad application of “national security,” which – directly
               contrary to the Supreme Court’s definition in Cole v. Young –
               encompasses “those activities of Government . . . which contribute
               to the strength of the Nation only through their impact on the general
               welfare.” Cole v. Young, 351 U.S. at 544. This interpretation of
               “national security” therefore is inconsistent with the statute and
               “risks allowing the exception to swallow the rule, thereby
               undermining the purpose of the statute itself.” Nat’l Fed'n of Fed.
               Emps. v. McDonald, 128 F. Supp. 3d 159, 172 (D.D.C. 2015). “[I]f



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               Congress intended the term to have such a broad meaning that all
               positions in the Government could be said to be affected with the
               ‘national security,’ the result would be that the [FSLMRS], though
               in form but an exception to the general personnel laws, could be
               utilized effectively to supersede those laws.” Cole v. Young, 351
               U.S. at 548.

Nat’l Treasury Emps. Union v. Trump, 2025 WL 1218044, at *16. In sum, the Court concluded

that the plaintiff union was likely to succeed on the merits of its claim that the Executive Order

was ultra vires. Id.

               In the instant case, the government acknowledges that “[t]he type of

determination to be made under section 4103(b) is similar to that in 5 U.S.C. § 7103(b)(1).”

Opp. at 24. As a result, the Court will analyze the issue of whether the Executive Order’s

invocation of Section 4103(b) was ultra vires in the same way that it did in Nat’l Treasury Emps.

Union v. Trump. The Court concludes that the President’s invocation of Section 4103(b) was

ultra vires for the same reasons outline in Nat’l Treasury Emps. Union v. Trump.


                                  1. Presumption of Regularity

               Turning first to the presumption of regularity, AFSA has rebutted the presumption

by clear evidence. As discussed above, see supra Section III.B, the Court concluded in Nat’l

Treasury Emps. Union v. Trump that the Executive Order – specifically, its unprecedented scope

that seemingly conflicts with Congress’s intent – coupled with the contemporaneous statements

contained in the White House Fact Sheet and OPM Guidance reflected that the President was

either indifferent to or acted in contravention of the requirements of the FSLMRS. See Nat’l

Treasury Emps. Union v. Trump, 2025 WL 1218044, at *9-11. The analysis is identical here




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because this case implicates the exact same Executive Order, White House Fact Sheet, and OPM

Guidance.6

               In addition to the reasons explained in Nat’l Treasury Emps. Union v. Trump,

AFSA provides further argument and evidence that demonstrates a retaliatory motive for the

Executive Order. See Hartman v. Moore, 547 U.S. 250, 263-64 (2006) (concluding that

“prosecutor's disclosure of retaliatory thinking on his part” was significant in determining

whether the presumption of regularity should be applied). For example, AFSA highlights the

fact that the Executive Order – despite excluding two-thirds of the federal workforce from

coverage of the statutes – does not strip collective bargaining rights from the United States

Customs and Border Protection (“CBP”), whose union “endorsed the President in last year’s

election.” See Pl.’s Mem. at 30. AFSA argues that “[i]f those who are guarding the border do

not have national security as a primary mission, then none of the employees excluded do,” and

that therefore the President’s decision to exempt CBP – which is represented by a union that

endorsed him – from the Executive Order offers further evidence of a retaliatory motive. Id.

at 30-31.



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                  At oral argument, the government asserted that the White House Fact Sheet was
not relevant to the Court’s analysis in this case since the Fact Sheet only dealt with exclusions
from the Civil Service Reform Act – i.e., exclusions pursuant to Section 7103(b) of the
FSLMRS – not exclusions made pursuant to Section 4103(b) of the Statute. See Tr.
at 33:19-34:05. This contention directly conflicts with the government’s arguments made in its
opposition memorandum, where the government argued that the statements in the Fact Sheet
support the President’s Section 4103(b) determinations. See Opp. at 36 (“The cited portion of
the Fact Sheet concludes with the statement that the President ‘will not tolerate mass obstruction
that jeopardizes his ability to manage agencies with vital national security missions.’ Section
4103(b) exists to allow the President to address such concerns.”) (internal citations omitted).
Moreover, notwithstanding the explicit references to the Civil Service Reform Act, the White
House Fact Sheet was published in support of the same Executive Order at issue in this case, and
it reflects retaliatory motive towards federal unions broadly, not just those falling under the
FSLMRS. The Court therefore considers the White House Fact Sheet relevant to its adjudication
of this case.


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               AFSA also argues that a recent implementation of Section 4 of the Executive

Order – which, among other things, delegates authority to the Secretary of Veterans Affairs “to

issue orders suspending the application” of the Executive Order as applied to the Department of

Veterans Affairs (“VA”), see Executive Order § 4 – reflects a retaliatory motive. See Pl.’s Reply

at 15. Specifically, AFSA points to the Secretary of Veterans Administration Doug Collins’s

recent decision to restore collective bargaining rights – pursuant to the authority delegated to him

under Section 4 of the Executive Order – “not to particular subdivisions [of the Department of

Veterans Affairs], but to particular unions in the Department.” Id. (emphasis in original). In

justifying the decision, VA Press Secretary Pete Kasperowicz stated that the decision to restore

the statutory protections to certain unions was based on the fact that those unions “have filed no

or few grievances against VA and [ ] have not proved an impediment to the department’s ability

to effectively carry out its mission . . . .” Id. at 15 (quoting Erich Wagner, VA is selectively

enforcing Trump’s order stripping workers of union rights, GOVERNMENT EXECUTIVE (April 18,

2025), available at https://www.govexec.com/workforce/2025/04/va-selectively-enforcing-

trumps-order-stripping-workers-union-rights/404694/ (quoting VA Press Secretary Pete

Kasperowicz)). The additional evidence and argument provided by AFSA bolsters the Court’s

earlier conclusion in Nat’l Treasury Emps. Union v. Trump that the White House Fact Sheet and

other contemporaneous evidence “reflects retaliatory motive towards certain unions.” Nat’l

Treasury Emps. Union v. Trump, 2025 WL 1218044, at *10.

               Accordingly, the Court concludes that AFSA has successfully rebutted the

presumption of regularity.




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                                   2. Statutory Interpretation

               Having successfully rebutted the presumption of regularity, the Court turns to the

issue of whether the Executive Order was ultra vires. See Nat’l Treasury Emps. Union v. Trump,

2025 WL 1218044, at *12-17. To remind, Section 4103(b) provides that:

               The President may by Executive order exclude any subdivision of
               the Department from coverage under this subchapter if the President
               determines that –

                      (1) the subdivision has as a primary function intelligence,
                      counterintelligence, investigative, or national security work,
                      and

                      (2) the provisions of this subchapter cannot be applied to that
                      subdivision in a manner consistent with national security
                      requirements and considerations.

22 U.S.C. § 4103(b). Section 4103(b) is identical to Section 7103(b)(1) of the FSLMRS, except

that Section 4103(b) only refers to “any subdivision,” whereas Section 7103(b)(1) refers to “any

agency or subdivision.” Compare 22 U.S.C. § 4103(b) with 5 U.S.C. § 7103(b)(1). As the Court

explained in Nat’l Treasury Emps. Union v. Trump, the President applied overly broad

interpretations of Section 7103(b)(1)’s terms “primary function” and “national security” in the

context of Section 2 of the Executive Order. See Nat’l Treasury Emps. Union v. Trump, 2025

WL 1218044, at *12-17. The government’s arguments in this case reflect that the same

interpretations were applied in excluding agency subdivisions from the Statute pursuant to

Section 4103(b).




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                                         a. “Primary Function”

                Turning first to the term “primary function” in Section 4103(b)(1), the

government’s arguments reflect either an overly broad interpretation of the term or a disregard of

the term entirely. As the Court explained in Nat’l Treasury Emps. Union v. Trump:

                While the government never explicitly states how it interprets
                “primary function,” its arguments related to each of the agencies and
                subdivisions reflect either an overly broad interpretation of the term
                or a disregard of the term entirely. The government's arguments
                related to each of the agencies and subdivisions illustrate this point
                by either pointing to generalized mission statements of the agencies
                referencing national security, or by pointing to individual functions
                that segments of the agencies or subdivisions perform that have a
                national security valence, and then concluding that the entire
                agencies’ or subdivisions’ “primary function” is national security.

Nat’l Treasury Emps. Union v. Trump, 2025 WL 1218044, at *14. The government takes the

same approach here, arguing that the State Department’s and USAID’s “work focuses on, among

other things,” a plethora of areas such as “critical and emerging technology . . ., global health

security . . ., intelligence . . ., diplomatic security . . ., arms control and international security . . .,

civilian security . . ., economic growth, energy, and environment . . ., counterterrorism . . ., and

public diplomacy . . . .” Opp. at 29; see id. (“USAID is the principal U.S. agency responsible for

extending development assistance to countries around the world and its programs aim to support

economic growth, combat the spread of disease, promote democratic reform, and address food

insecurity.”) (citation and internal quotation marks omitted). Setting aside for the moment

whether the broad areas of work the government identifies constitute “national security work” as

is used in Section 4103(b), the government’s approach of pointing to different categories of work

that segments of the State Department and USAID perform and concluding that the “primary

function” of the entire State Department and USAID is “national security” was the exact




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approach rejected in Nat’l Treasury Emps. Union v. Trump. See Nat’l Treasury Emps. Union v.

Trump, 2025 WL 1218044, at *14.

               The government argues that because the Foreign Service Act defines the term

“function” as “any duty, obligation, power, authority, responsibility, right, privilege, discretion,

or activity,” 22 U.S.C. § 3902(6), a subdivision can have “multiple ‘primary’ functions – for

instance, one related to a ‘duty,’ another related to a ‘discretion,’ and another related to an

‘activity,’ among others.” Opp. at 30. The government’s argument misses the point of the

Court’s analysis in Nat’l Treasury Emps. Union v. Trump: the issue there was not whether an

agency can have multiple “primary functions;” rather, the issue was whether the government’s

approach of pointing to “some work that implicates national security” was sufficient to conclude

that the agency’s “primary function” is “national security work.” See Nat’l Treasury Emps.

Union v. Trump, 2025 WL 1218044, at *14 (emphasis in the original). The Court concluded that

this approach was deficient, reasoning that the government omitted the critical step of explaining

why each of those categories of work are the “primary function” of the agency. See id. The lack

of argument connecting the identified work to the “primary function” of the agency made clear

that the government’s interpretation of “primary function” was either overly broad, or that the

government’s interpretation disregarded the statutory term entirely. Because the government

takes the same approach here, the Court must again reject the government’s interpretation of

“primary function” as overly broad. See Nat’l Treasury Emps. Union v. Trump, 2025

WL 1218044, at *14.


                      b. “National Security” and “National Security Work”

               Turning next to the term “national security,” the government in this case stands by

the same interpretation the Court rejected in Nat’l Treasury Emps. Union v. Trump. Specifically,



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the government contends that “national security” in Section 4103(b) “refer[s] to work ‘directly

related to protection and preservation of the military, economic, and productive strength of the

United States.” Opp. at 27 (quoting Dep’t of Energy, Oak Ridge Operations, & Nat’l Ass’n of

Gov’t Emps. Local R5-181, 4 FLRA 644, 655-56 (1980)). In rejecting this interpretation of

“national security” in Nat’l Treasury Emps. Union v. Trump, the Court explained:

               [T]his Court must conclude that the President’s interpretation of
               “national security” exceeds the scope of the meaning intended by
               Congress. In passing the FSLMRS, Congress clearly expressed a
               desire to extend collective bargaining rights broadly because it
               determined that those rights were “in the public interest.” 5 U.S.C.
               § 7101(a) (“[L]abor organizations and collective bargaining in the
               civil service are in the public interest”). Congress provided a narrow
               exception that allowed the President to exclude agencies and
               subdivisions from these protections if the provisions of the law
               “cannot be applied . . . in a manner consistent with national security
               requirements and considerations.” 5 U.S.C. § 7101(b)(1)(B). And
               as in Cole v. Young, it is “clear from the statute” that the term
               “national security” “comprehend[s] only those activities . . . that are
               directly concerned with the protection of the Nation from internal
               subversion or foreign aggression . . . .” Cole v. Young, 351 U.S.
               at 544. But President Trump instead has applied a startlingly broad
               application of “national security,” which – directly contrary to the
               Supreme Court’s definition in Cole v. Young – encompasses “those
               activities of Government . . . which contribute to the strength of the
               Nation only through their impact on the general welfare.” Cole v.
               Young, 351 U.S. at 544. This interpretation of “national security”
               therefore is inconsistent with the statute and “risks allowing the
               exception to swallow the rule, thereby undermining the purpose of
               the statute itself.” Nat’l Fed’n of Fed. Emps. v. McDonald, 128 F.
               Supp. 3d 159, 172 (D.D.C. 2015). “[I]f Congress intended the term
               to have such a broad meaning that all positions in the Government
               could be said to be affected with the ‘national security,’ the result
               would be that the [FSLMRS], though in form but an exception to
               the general personnel laws, could be utilized effectively to supersede
               those laws.” Cole v. Young, 351 U.S. at 548.

Nat’l Treasury Emps. Union v. Trump, 2025 WL 1218044, at *16. The same analysis applies

here: the government’s interpretation of “national security” covers everything from “global

health security” to “civilian security” to “economic growth, energy, and [the] environment.” See



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Opp. at 29. Because this expansive interpretation would allow “an exception to the general

personnel laws” to be utilized to “effectively to supersede those laws,” it must be rejected. Cole

v. Young, 351 U.S. at 548.

                The government makes several arguments in response to the Court’s analysis in

Nat’l Treasury Emps. Union v. Trump. First, the government contends that its interpretation “is

not inconsistent with Cole v. Young” because the statute at issue in that case is materially

different from the statute at issue here. Opp. at 27. More specifically, the government argues

that the Supreme Court’s conclusion that the term “national security” should be interpreted

narrowly rested heavily on the fact that the eleven named agencies in the statute were “directly

concerned with the national defense.” Id. (quoting Cole v. Young, 351 U.S. at 544). In the

instant case, however, “[t]he national security exemption in Section 7103(b)(1)” – and “its

counterpart in section 4103(b)” – “is not limited to any specific agency but to those that the

President ‘determines’ have as a primary function national security work.” Opp. at 27.

                As an initial matter, the government’s suggestion that Cole v. Young’s

interpretation of “national security” is not relevant to the instant case is belied by the fact that the

government’s lone support for its expansive interpretation is essentially a truncated citation to an

FLRA decision that applies Cole v. Young’s interpretation of “national security.” See Dep’t of

Energy, Oak Ridge Operations, & Nat’l Ass’n of Gov’t Emps. Local R5-181, 4 FLRA at 655-56;

see also Nat’l Treasury Emps. Union v. Trump, 2025 WL 1218044, at *15 (explaining Oak

Ridge’s reliance on Cole v. Young). Moreover, while the Supreme Court in Cole v. Young

found relevant Congress’s decision to include in the statute agencies with a specific “character”

of “national security,” the Supreme Court’s holding was also motivated by the concern that an

expansive interpretation of “national security” may allow the President to “supersede” the law.




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Cole v. Young, 351 U.S. at 547. The government’s expansive interpretation of “national

security” creates the risk that Section 4103(b) could be used to supersede the Statute, and

therefore must be rejected.7

               Next, the government asserted at oral argument that the Supreme Court’s analysis

in Cole v. Young makes clear that the State Department has a primary function of “national

security work.” See Tr. at 37:04-25. Specifically, the government points to language in Cole v.

Young where the Supreme Court stated that the particular agencies covered by the statute at

issue in that case – which included the State Department, see Cole v. Young, 351 U.S. at 538

n.1 – were “without a doubt . . . directly concerned with the national defense . . . .” Id. at 544.

Relatedly, the government argues that the foreign policy valence of the State Department and

USAID means that both agencies perform “national security work” because “foreign policy

inevitably involve[s] the exercise of predictive judgment about risks to national security.” Opp.

at 33 (citation omitted).

               The “national defense” and “foreign policy” character of the State Department

and USAID does not support the government’s broad interpretation of “national security” in this

case. The Supreme Court in Cole v. Young made clear that, notwithstanding an agency’s

relationship to “national security,” the term “national security” in the statute must be interpreted



       7
                 The government’s reliance on Trump v. Hawaii, 585 U.S. 667 (2018), is
unavailing. See Opp. at 25. In that case, the Supreme Court stated that “a searching inquiry into
the persuasiveness of the President’s justifications is inconsistent with the broad statutory text
and the deference traditionally accorded the President in” the national security sphere. Trump v.
Hawaii, 585 U.S. at 686. The Court, however, is not questioning whether the President’s actions
are justified from “a policy perspective;” rather, the Court is considering “the scope of” the
President’s powers under Section 4103(b). See id.; see also Ctr. for Biological Diversity v.
Mattis, 868 F.3d 803, 827 (9th Cir. 2017) (“When confronting a statutory question touching on
subjects of national security and foreign affairs, a court does not adequately discharge its duty by
pointing to the broad authority of the President and Congress and vacating the field without
considered analysis.”).


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in light of Congress’s intent in passing the statute, and that a federal employees’ “relationship to

the ‘national security’” could not simply “follow from the very fact of employment.” Cole v.

Young, 351 U.S. at 543-44, 547. Indeed, the government’s sole authority in support of its

interpretation of “national security” expressly acknowledges that the term “national security”

must be understood in light of Congress’s determination that “[l]abor organizations and

collective bargaining in the civil service have been determined by the Congress to be ‘in the

public interest.’” See Dep’t of Energy, Oak Ridge Operations, & Nat’l Ass’n of Gov’t Emps.

Local R5-181, 4 F.L.R.A. at 655-56 (citation omitted). To apply an expansive interpretation of

“national security” that does not account for Congress’s intent, the Supreme Court reasoned,

would mean that an “exception to the general personnel laws[] could be utilized effectively to

supersede those laws.” Cole v. Young, 351 U.S. at 547.

               Congress could not have been clearer in passing the Statute that it intended for the

protections of the Statute to extend broadly to the covered departments and agencies in the

foreign service. See supra Section I.A; see also 22 U.S.C. § 4101. It therefore is plainly

unreasonable to conclude that the exclusion in Section 4103(b) can be satisfied merely by

pointing to the general national security and foreign policy “character” of the departments and

agencies that Congress included in the Statute. To do so would essentially render

Section 4103(b) meaningless since an agency subdivision necessarily would satisfy the provision

by nature of their inclusion in the Statute.

               In light of its analysis above, the Court concludes that AFSA is likely to succeed

on its claim that the Executive Order is ultra vires. This conclusion is reached in light of the




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strong evidence rebutting the “presumption of regularity” and the Court’s interpretation of

Section 4103(b).8


                                        C. Irreparable Harm

                The next factor to consider is whether AFSA will suffer irreparable injury without

the requested preliminary injunction. See Archdiocese of Washington v. Wash. Metro. Area

Transit Auth., 897 F.3d at 321. The D.C. Circuit “has set a high standard for irreparable injury.”

Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006). “Not only

must the injury ‘be both certain and great,’ and ‘actual and not theoretical,’ but ‘the injury must

be beyond remediation.’” Brennan Ctr. for Just. at NYU Sch. of L. v. Dep’t of Com., 498 F.

Supp. 3d 87, 101 (D.D.C. 2020) (quoting Chaplaincy of Full Gospel Churches v. England, 454

F.3d at 297). Importantly, “obstacles [that] unquestionably make it more difficult for the

[plaintiff] to accomplish [its] primary mission . . . provide injury for purposes . . . [of

establishing] irreparable harm.” League of Women Voters v. Newby, 838 F.3d at 9.

                AFSA advances two primary bases by which it argues it will face irreparable

harm absent a preliminary injunction. First, it argues that the Executive Order significantly

diminishes its bargaining power by “strip[ping] ninety-seven percent (97%) of Foreign Service

members represented by AFSA of their rights to organize and bargain collectively under the

[Statute].” Pl.’s Mem. at 36. This loss of bargaining power and the statutory protections of

collective bargaining “have weakened AFSA’s ability to represent Foreign Service employees.”

Pl.’s Reply at 18. For example, the State Department and USAID “have ceased all



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              Because the Court concludes that AFSA is likely to succeed on its ultra vires
claims, see Compl. ¶¶ 40-56 (Counts One and Two), the Court does not reach the issue of
whether AFSA has satisfied the requirements for a preliminary injunction on its First
Amendment retaliation claim.


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communications and meetings with union representatives about Foreign Service members’

employment conditions,” see Yazdgerdi Decl. ¶ 10; Wong Decl. ¶¶ 8, 12; Chester Decl. ¶¶ 9, 19,

“eliminated the ability of AFSA’s officers to represent employees during work hours,” see Wong

Decl. ¶ 20; Chester Decl. ¶ 15; Sigfusson Decl. ¶¶ 14, 15, “limited AFSA’s involvement before

the Foreign Service Grievance Board,” Parikh Decl. ¶ 6; Papp Decl. ¶ 3, “excluded AFSA

representatives from their offices, limiting AFSA’s access to members and collective bargaining

records,” Sigfusson Decl. ¶¶ 11, 12, and “terminated dues deduction.” Pl.’s Reply at 18.

               AFSA argues that these significant obstructions to representing its members have

come at a critical moment where both the State Department and USAID have signaled – and

have begun – large-scale reorganization efforts and reductions-in-force. See Pl.’s Reply

at 19-21. As to USAID, the agency has already begun to implement reductions-in-force where

employees will be terminated on July 1, 2025, and September 2, 2025. See Chester Decl. ¶ 18.

As for the State Department, Secretary of State Marco Rubio announced on April 22, 2025, that

“Defendant State will reorganize itself by decreasing the number of bureaus or offices from 734

to 632 and downsizing of the domestic staff by fifteen percent.” Pl.’s Reply at 18; see Exs. 1

and 2, Yazdgerdi Supp. Decl. ¶¶ 2-3. Absent preliminary relief, AFSA contends that its

members will be severely disadvantaged during the reductions-in-force and reorganization by

“hav[ing] to navigate that process without their bargained-upon frameworks and without their

collective bargaining representative,” which in turn “will further erode the employees’

confidence and trust in the collective bargaining process and their bargaining representative.”

Pl.’s Reply at 20 (citing Moore-Duncan ex rel. NLRB v. Horizon House Developmental

Svcs., 155 F. Supp. 2d 390, 396-97 (E.D. Pa. 2001) (“The impotence of the union and the loss of

employee interest can create a mutually reinforcing cycle, as lack of support among employees




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further diminishes the union’s strength and, consequently, its ability to press for improvements

that would demonstrate its worthiness to members of the bargaining unit.”)).

               Second, AFSA argues that it is currently suffering “crippling

losses” – approximately 86% of its monthly operational revenue, see Yazdgerdi Decl.

¶ 17 – caused by the loss of dues revenue. Pl.’s Reply at 21. AFSA’s Executive Direct, Asgeir

Sigfusson, states that the loss of dues revenue “will cause immediate cash flow issues,” making it

so that “AFSA will not be able to pay utilities, vendor costs, and most concerning, employee

salaries and benefits.” Sigfusson Decl. ¶ 9; see id. ¶ 10 (“The loss of membership dues could

cause immediate layoffs for AFSA staff in addition to cuts in salaries and benefits.”). AFSA’s

President, Thomas Yazdgerdi, illustrates the lasting harm that such layoffs would have on AFSA,

stating that “[m]any of [AFSA’s] staff have been with AFSA for over 20 years and have a wealth

of legal and other experience and knowledge representing Foreign Service members in what is a

very specialized, niche area of law.” Yazdgerdi Decl. ¶ 18; see also Yazdgerdi Supp. Decl. ¶ 1.

               As the Court has recently described in depth, each of the injuries suffered by

AFSA represent irreparable harm warranting a preliminary injunction. See Nat’l Treasury Emps.

Union v. Trump, 2025 WL 1218044, at *17-19. As to the loss of bargaining power, the Court

explained the lasting harms that an employer’s refusal to collectively bargain have on

employees’ morale and interest in union membership, stating:

               Courts have long recognized that “the unlawful refusal of an
               employer to bargain collectively with its employees’ chosen
               representatives disrupts the employees’ morale, deters their
               organizational activities, and discourages their membership in
               unions.” Franks Bros. Co. v. NLRB, 321 U.S. 702, 704 (1944).
               “The deprivation to employees from the delay in bargaining and the
               diminution of union support is immeasurable.” NLRB. v. Electro-
               Voice, Inc., 83 F.3d 1559, 1573 (7th Cir. 1996). Furthermore, “[a]s
               time passes, the benefits of unionization are lost and the spark to
               organize is extinguished.” Id.; see Int’l Union of Elec., Radio &



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                    Mach. Workers, AFL-CIO v. NLRB, 426 F.2d 1243, 1249 (D.C.
                    Cir. 1970) (“Employee interest in a union can wane quickly as
                    working conditions remain apparently unaffected by the union or
                    collective bargaining.”). Therefore, any relief a court may provide
                    “must come quickly.” In re Am. Fed’n of Gov’t Emps., AFL-CIO,
                    790 F.2d 116, 117-18 (D.C. Cir. 1986) (citation and quotation marks
                    omitted).

Nat’l Treasury Emps. Union v. Trump, 2025 WL 1218044, at *17. Outside of the effects on

union membership, “the loss of representation and status as an exclusively recognized labor

organization creates ‘obstacles [that] make it more difficult for the [plaintiff] to accomplish [its]

primary mission,’” which “in itself constitutes irreparable harm.” Id. (quoting League of Women

Voters v. Newby, 838 F.3d at 9). In sum, the loss of bargaining power and statutory protections

for the right to collectively bargain represent irreparable harm. See id.; see also Donohue v.

Mangano, 886 F. Supp. 2d 126, 152 (E.D.N.Y. 2012) (finding irreparable harm where union

could “no longer represent their members in any meaningful way . . . .”); Moore-Duncan ex rel.

NLRB v. Horizon House Developmental Svcs., 155 F. Supp. at 396-97 (“An interim injunction

requiring that the employer bargain in good faith may be therefore be necessary to prevent

irreparable damage to the union’s position and to the bargaining process.”); SEIU Health Care

Michigan v. Snyder, 875 F. Supp. 2d 710, 725 (E.D. Mich. 2012) (“Plaintiff will be irreparably

harmed by being deprived its contractual rights, its ability to advocate and bargain for its

members, and the loss of revenue to operate effectively and exercise its First Amendment

rights . . . .”).

                    Significant losses in revenue like the ones suffered by AFSA – approximately

86% loss of its operational revenue – cause irreparable harm both because they threaten the very

existence of the union, see Pl.’s Reply at 21, and because “the loss of revenue creates a serious

obstacle for [AFSA] to ‘accomplish [its] primary mission’ of representing its members.” Nat’l




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Treasury Emps. Union v. Trump, 2025 WL 1218044, at *19 (quoting League of Women Voters

v. Newby, 838 F.3d at 9). Furthermore, layoffs of AFSA staff that result from the loss of dues

revenue threaten to have a lasting impact on AFSA’s effectiveness given the “wealth of legal and

other experience and knowledge representing Foreign Service members” AFSA’s staff possess.

See Yazdgerdi Decl. ¶ 18. In sum, the “‘crippling losses’ that threaten AFSA’s existence”

represent irreparable harm. Pl.’s Reply at 21; see Nat’l Treasury Emps. Union v. Trump, 2025

WL 1218044, at *19.

               The government’s arguments in opposition were addressed and rejected in the

Court’s earlier opinion in Nat’l Treasury Emps. Union v. Trump, 2025 WL 1218044, at *16-19.

Accordingly, AFSA has established that it will suffer irreparable harm absent a preliminary

injunction.


                                  D. Equities and Public Interest

               The remaining preliminary injunction factors – the balance of the equities and

assessment of the public interest – weigh in AFSA’s favor. These factors “merge when, as here,

the Government is the opposing party.’” Singh v. Berger, 56 F.4th 88, 107 (D.C. Cir. 2022)

(quoting Karem v. Trump, 960 F.3d 656, 668 (D.C. Cir. 2020)).

               As the Court explained in Nat’l Treasury Emps. Union v. Trump, Congress’s

unequivocal identification of collective bargaining rights and federal unions as being “in the

public interest,” coupled with the public interest “in ensuring that the laws enacted by their

representatives are not imperiled by executive fiat,” compel the conclusion that AFSA satisfies

the remaining preliminary injunction factors. Nat’l Treasury Emps. Union v. Trump, 2025

WL 1218044, at *20. The government’s primary argument in response – that “[a] preliminary

injunction would displace and frustrate the President’s decision about how to best address issues



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of national security,” Opp. at 40 – must be rejected because it “presuppose[s] that the President's

decisions are in fact “national security” determinations, rather than a recasting of decisions

related to “the general welfare” as “national security” determinations.” Nat’l Treasury Emps.

Union v. Trump, 2025 WL 1218044, at *20 (quoting Cole v. Young, 351 U.S. at 544).

               Accordingly, the balance of the equities and assessment of the public interest

weigh in favor of granting a preliminary injunction. Indeed, each of the preliminary injunction

factors weighs in favor of granting AFSA’s motion.


                        IV. SECURITY AND SCOPE OF INJUNCTION

               The government requests that the Court impose a bond pursuant to Rule 65(c) of

the Federal Rules of Civil Procedure. See Opp. at 41. While the government does not provide

any analysis of the “costs and damages” it will suffer as a result of the preliminary injunction in

its opposition memorandum, see FED. R. CIV. P. 65(c), the government subsequently has

requested that bond be set at $120,000. See Defendants’ Response to Proposed Order

(“Response to Prop. Order”) [Dkt. No. 30] at 2 n.1. This amount represents the costs the

government will need to pay in “union time” assuming a one-year duration for the preliminary

injunction. See id.

               Courts have “broad discretion” in determining “the appropriate amount of an

injunction bond, including the discretion to require no bond at all.” Simms v. D.C., 872 F. Supp.

2d 90, 107 (D.D.C. 2012) (internal citation and quotation marks omitted). As the Court

explained in Nat’l Treasury Emps. Union v. Trump, requiring a significant bond “would conflict

with both the Court’s findings that each of the preliminary injunction factors weigh heavily in

[AFSA’s] favor and the principles of the right to seek judicial review of unlawful government

action.” Nat’l Treasury Emps. Union v. Trump, 2025 WL 1218044, at *21; see Plaintiff’s



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Response to Defendants’ Response to Proposed Order (“Pl.’s Reply to Prop. Order”) [Dkt.

No. 32] at 2. While the total amount requested by the government is unwarranted, the Court, in

its discretion, orders AFSA to post a bond in the amount of $100 pursuant to Rule 65(c) of the

Federal Rules of Civil Procedure.

               In addition to the imposition of a bond, the government requests that the Court

limit the scope of the preliminary injunction in two respects: first, the Court should exempt

agency subdivisions from the preliminary injunction order that meet the criteria in Section

4103(b); and second, the Court should exempt OPM from the order because “Plaintiff has failed

to identify any basis for injunctive relief against OPM . . . .” Response to Prop. Order. The

Court denies both of the government’s requests. As to the request to exempt particular agency

subdivisions from the preliminary injunction order, the Court denies this request for the reasons

explained in Nat’l Treasury Emps. Union v. Trump – namely, the Court’s “conclusions all speak

to the fact that [Section 3] of the Executive Order is entirely ultra vires.” Nat’l Treasury Emps.

Union v. Trump, 2025 WL 1218044, at *22. As to the government’s request to exempt OPM

from the order, AFSA has shown that the preliminary injunction should include OPM because

OPM has issued guidance to agencies on how to implement the Executive Order. See Pl.’s

Reply to Prop. Order at 2; see also OPM Guidance.




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